AO 245D (WDNC Rev. 02/11) Judgment in a Criminal Case for Revocation




                                                UNITED STATES DISTRICT COURT
                                                          Western District of North Carolina
   UNITED STATES OF AMERICA                                             )   JUDGMENT IN A CRIMINAL CASE
                                                                        )   (For Revocation of Probation or Supervised Release)
               V.                                                       )   (For Offenses Committed On or After November 1, 1987)
                                                                        )
                                                                        )
   DALE WILTON COX, JR.                                                 )   Case Number: DNCW104CR00117-007
                                                                        )   USM Number: 18783-058
                                                                        )
                                                                        )   Renae Alt-Summers
                                                                        )   Defendant’s Attorney


THE DEFENDANT:
☒ Admitted guilt to violation of condition 6 of the term of supervision.
☐ Was found in violation of condition(s) count(s)       after denial of guilt.

ACCORDINGLY, the court has adjudicated that the defendant is guilty of the following violation(s):

Violation                                                                                                   Date Violation
Number           Nature of Violation                                                                        Concluded
     6           NEW LAW VIOLATION – BREAK AND/OR ENTERING; ATTEMPTED                                        3/25/2013
                 LARCENY; INJURY TO PERSONAL PROPERTY


       The Defendant is sentenced as provided in page 2 of this judgment. The sentence is imposed pursuant to the
Sentencing Reform Act of 1984, United States v. Booker, 125 S.Ct. 738 (2005), and 18 U.S.C. § 3553(a).

☐      The Defendant has not violated condition(s) ____ and is discharged as such to such violation(s) condition.
☒      Violations 1, 2, 3, 4 & 5 are dismissed on the motion of the United States.


        IT IS ORDERED that the Defendant shall notify the United States Attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this
judgment are fully paid. If ordered to pay monetary penalties, the defendant shall notify the court and United States
attorney of any material change in the defendant's economic circumstances.




                                                                                  Date of Imposition of Sentence: 5/22/2014




                                                                                  Date: May 27, 2014




                    Case 1:04-cr-00117-MR-DLH                          Document 370       Filed 05/27/14      Page 1 of 2
AO 245 D (WDNC Rev. 02/11) Judgment in a Criminal Case for Revocation


Defendant: Dale Wilton Cox Jr.                                                                             Judgment- Page 2 of 2
Case Number: DNCW104CR00117-007



                                                                        IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of
FOURTEEN (14) MONTHS. THE TERM OF IMPRISONMENT IMPOSED BY THIS JUDGMENT SHALL RUN
CONSECUTIVELY TO ANY UNDISCHARGED TERM OF IMPRISONMENT PREVIOUSLY OR HEREINAFTER
IMPOSED BY ANY STATE OR FEDERAL COURT REGARDING ANY MATTER.

☒ The Court makes the following recommendations to the Bureau of Prisons:
       -      Participation in any available substance abuse treatment program and, if eligible, receive benefits of
              18:3621(e)(2).
       -      Defendant shall support all dependents from prison earnings.
       -      Participation in any available educational and vocational opportunities.

☒ The Defendant is remanded to the custody of the United States Marshal.

☐ The Defendant shall surrender to the United States Marshal for this District:

            ☐ As notified by the United States Marshal.
            ☐ At        am/pm on          .

☐ The Defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

            ☐ As notified by the United States Marshal.
            ☐ Before 2 p.m. on           .
            ☐ As notified by the Probation Office.


                                                                          RETURN

I have executed this Judgment as follows:




Defendant delivered on __________ to _______________________________________ at

________________________________________, with a certified copy of this Judgment.




                       United States Marshal
                                                                                   By:
                                                                                         Deputy Marshal




                    Case 1:04-cr-00117-MR-DLH                           Document 370     Filed 05/27/14   Page 2 of 2
